           Case 4:20-cv-01348-YGR Document 99 Filed 05/12/22 Page 1 of 5




                                   ABSTRACT OF JTIDGMENT

                                                                             Notice
          Pursuant to Title 28, United States Code, Section 3201, this judgment, upon the filing of this abstract in the
manner in which a notice of tax lien would be filed under paragraphs (1) and (2) of 26 U.S.C.] $n
                                                                                                        G),creates a
lien on all real property ofthe defendant(s) and has priority over all other liens or encumbrances which are perfected
laterintime. Theliencreatedbythissectioniseffective,unlesssatisfied,foraperiodof20yearsandmay-be
 renewed by filing a notice of renewal. If such notice of renewal is filed before the expiration of the 20 year period
 to prevent the expiration ofthe lien and the court approves the renewal, the lien shall ielate back to the date ihe
judgment is filed.


Court Name: United States District Court
            Northern District of California
Court Number: C 20-01348 YGR
County: Humboldt County
JUDGEMENT DEBTORS(S): Names of Parfy against                                                         CREDITOR: Name of Parties in whom favor
whom       have been filed                                                                         have been obtained
BEDROCK INVESTMENTS LLC                                                                            STATES OF AMERICA




Social Security No.' **x-{<*-726
Driver's License No. and State   nknown

Amount of    J                            Names of Creditor's                                 Attorneys    lWt     Docketed
                                                 States of America                                           udgment Entered or Registered
                                           o U.S. Attornev's Office
                                            0 Golden Gate Avenue                                                    2021
       087 750                             O. Box 36055
                                               Francisco, CA 94102
Plus costs and interest
                                            ttn: Financial Litigation Program
                                           4t5 436-6970

        I Certi$ that the foregoing is a true and correct abstract of the judgment entered or
registered by this Court.
                                               Mark B. Busby
                                               Clerk of the Court
                                               United States District Court
                                               Northern District of California
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                                    Date Issued                               May 12, 2022
           Case 4:20-cv-01348-YGR Document 99 Filed 05/12/22 Page 2 of 5




                                   ABSTRACT OF JUDGMENT

                                                                             Notice
            Pursuant to Title 28, United States Code, Section 3201, this judgment, upon the filing of this abstract in the
 manner in which a notice of tax lien would be filed under paragraphs (l) and
                                                                                    Q) of 26 U.S.C. S 6323 (f), creares a
 Iien on all real properry ofthe defendant(s) and has priority over all other liens or encumbrances which are perfected
 later in time. The lien created by this section is effective, unless satisfied, for a period of 20 years and
                                                                                                              -uy b.
 renewed by filing a notice of renewal. If such notice of renewal is filed before the expiration of the 20 year period
to prevent the expiration ofthe lien and the court approves the renewal, the lien shall relate back to the date ihe
judgment is filed.


Court Name   United States District Court
             Northern District of California
Court Number : C 20-01348 YGR
County:        Humboldt County

JUDGEMENT DEBTORS(S): Names of Parry against                                                              CREDITOR: Name of Parties in whom favor
whom    ents have been filed                                                                            have been obtained
KERNAN CONSTRUCTION CO.                                                                                 STATES OF AMERICA




Social Security No.' xx*-{<*-726
Driver's License No. and State:

Arnount of   J                             Names of Creditor's Attorneys                                               Docketed
                                           United States of America                                               udgment Entered or Registered
                                           c/o U.S. Attorney's Office
                                           450 Golden Gate Avenue
       087 7                               P.O. Box 36055
                                           San Francisco, CA 94102
Plus costs and interest
                                           Attn: Financial Litigation Program
                                           (4ts) 436-6970

        I Certifu that the foregoing is a true and correct abstract of the judgment entered or
registered by this Court.
                                                Mark B. Busby
                                                Clerk of the Court
                                                United States District Court
                                                Northem District of California
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                                     Date Issued:                             May 12, 2022
           Case 4:20-cv-01348-YGR Document 99 Filed 05/12/22 Page 3 of 5




                                    ABSTRACT OF JUDGMENT

                                                                             Notice
            Pursuant to Title 28, United States Code, Section 3201 , this judgment, upon the filing of this abstract in the
 maruler in which a notice of tax lien would be filed under paragraphs (1) and (2) of 26 U.S.C. $ 6323 (f), creates a
 lien on all real property ofthe defendant(s) and has priority over all other liens or encumbrances which are perfected
 later in time. The lien created by this section is effective, unless satisfied, for a period of 20 years and may be
 renewed by filing a notice of renewal. If such notice of renewal is filed before the expiration of the 20 year period
to prevent the expiration ofthe lien and the court approves the renewal, the lien shall relate back to the date the
judgment is filed.


Court Name:  United States District Court
             Northem District of Califomia
Court Number : C 20-01348 YGR
County:        Humboldt County

JUDGEMENT DEBTORS(S): Names of Parly against                                                          MENT CREDITOR: Name of Parties in whom favor
whom       have been filed                                                                                   have been obtained
KURT KERNEN                                                                                         t't'Fl   STATES OF AMERICA




Social Security No.' {<**-**-6818
Driver's License No. and State:

Amount of    J       ent                   Names of Creditor's Attorneys                                                    Docketed
                                           United States of America                                                               Entered or Registered:
                                           c/o U.S. Attorney's Office
                                           450 Golden Gate Avenue
                                           P.O. Box 36055
    $2.087.750.00
Plus costs and interest                    San Francisco,                   CA 94102
                                           Attn: Financial Litigation Program
                                           (4ts) 436-6e70

        I Certifu that the foregoing is a true and correct abstract of the judgment entered or
registered by this Court.
                                                Mark B. Busby
                                                Clerk of the Court
                                                United States District Court
                                                Northern District of California
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                                     Date Issued:                            May 12, 2022
           Case 4:20-cv-01348-YGR Document 99 Filed 05/12/22 Page 4 of 5




                                   ABSTRACT OF JUDGMENT
                                                                      Notice
            Pursuant to Title 28, United States Code, Section 3201, this judgment, upon the filing of this abstract in the
 manner in which a notice of tax lien would be filed under paragraphs (l) and (2) of 26 U.S.C. S 6323 (f), creates a
 lien on all real properly ofthe defendant(s) and has priority over all other liens or encumbrances which are perfected
 later in time. The lien created by this section is effective, unless satisfied, for a period of 20 years and may be
renewed by filing a notice of renewal. If such notice of renewal is filed before the expiration of the 20 year period
to prevent the expiration ofthe lien and the court approves the renewal, the lien shall relate back to the date the
judgment is filed.


Court Name: United States District Court
            Northern District of California
Court Number: C 20-01348 YGR
County: Humboldt County
JUDGEMENT DEBTORS(S): Names of Party against                                                               CREDITOR: Name of Parties in whom favor
whom       have been filed                                                                               have been obtained
 SCOTT FARLEY aka NORMAN SCOTT                                                                            STATES OF AMERICA
FARLEY




Social Security No.' ***-*x-3109
Driver's License No. and State:

Amount of    J      ent                    Names of Creditor's Attorneys                                                 Docketed
                                           United States of America                                                           Entered or Registered:
                                           c/o U.S. Attorney's Office
                                           450 Golden Gate Avenue
                                           P.O. Box 36055
     $a08us0.00
                                           San Francisco, CA 94102
Plus costs and interest
                                           Attn: Financial Litigation Program
                                           (4ts) 436-6970

        I Certiff that the foregoing is a true and correct abstract of the judgment entered or
registered by this Court.
                                                Mark B. Busby
                                                Clerk of the Court
                                                United States District Court
                                                Northern District of Califomia
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                                     Date Issued:                May 12, 2022
           Case 4:20-cv-01348-YGR Document 99 Filed 05/12/22 Page 5 of 5




                                   ABSTRACT OF JUDGMENT

                                                                                Notice
            Pursuant to Title 28, United States Code, Section 3201, this judgment, upon the filing of this abstract in the
 manner in which a notice of tax lien would be filed under paragraphs (l) and (2) of 26 U.S.C. 6323 (D,creates
                                                                                                       $               a
 lien on all real property ofthe defendant(s) and has priority orr.. ill other liens or encumbrances which are perfected
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 renewed by filing a notice of renewal. If such notice of renewal is filed before the expiration of the 20 year period
 to prevent the expiration ofthe lien and the court approves the renewal, the lien shall relate back to the date the
judgment is filed.


Court Name: United States District Court
            Northern District of California
Court Number: C 20-01348 YGR
County: Trinity County
JUDGEMENT DEBTORS(S): Names of Party against                                                      UDGMENT CREDITOR: Name of Parties in whom favor
whom       have been filed                                                                                have been obtained
 SCOTT FARLEY aka NORMAN SCOTT                                                                            STATES OF AMERICA
FARLEY




Social Security No.' :k*{<-**-3 I 09
Driver's License No. and State:

Amount of    J                             Names of Creditor's Attorneys                                                  Docketed
                                           United States of America                                                            Entered or Registered:
                                           c/o U.S. Attorney's Office
                                           450 Golden Gate Avenue
                                           P.O. Box 36055
    $2.087.7s0.00
                                           San Francisco, CA 94102
Plus costs and interest
                                           Attn: Financial Litigation Program
                                           (
                                             41s) 436-6970

        I Certiff that the foregoing is a true and correct abstract of the judgment entered or
registered by this Court.
                                                Mark B. Busby
                                                Clerk of the Court
                                                United States District Court
                                                Northern District of California
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